           Case 1:19-cr-10080-NMG Document 2344 Filed 10/03/21 Page 1 of 6




                                   UNITED STATES DISTRICT COURT
                                    DISTRICT OF MASSACHUSETTS



    UNITED STATES OF AMERICA
                                                           Case No. 1:19-CR-10080-NMG
      v.

    GREGORY COLBURN et al.,

                      Defendants


      DEFENDANT JOHN WILSON’S MOTION TO RECONSIDER ADMISSION OF
              CONTEXTUAL EMAIL OR, IN THE ALTERNATIVE,
                   TO LIMIT MISLEADING ARGUMENT

           Defendant John Wilson respectfully urges the Court to reconsider its ruling sustaining the

government’s objections to Exhibits 9899, 9901, and 9902 on hearsay grounds.1 The email

messages contained in these Exhibits and the attached photographs are not hearsay because they

do not contain assertive content and, to the extent they do, such statements are offered only for

context and to show Mr. Wilson’s state of mind, and not for the truth of the matter asserted.

           Mr. Wilson submits the following facts in support of the Motion. On October 17, 2013,

Debbie Rogers emailed Mr. Wilson and his wife, Leslie, saying that there is “no word limit” for

Johnny’s senior tribute page in the yearbook; Mr. Wilson replied that he knows nothing about a

tribute page and requested an explanation; and Debbie explained that Johnny’s school allows

parents of seniors to purchase a half-page tribute containing up to five pictures and a written

message. See Exhibit 9902. Debbie also advised Mr. Wilson that she had printed out examples

for him to review when he returned to the office on October 19, 2013. See id. On October 19,

2013, Mr. Wilson flew from Amsterdam to San Francisco. That same day, he received an email


1
           For convenience, the Exhibits are attached.
         Case 1:19-cr-10080-NMG Document 2344 Filed 10/03/21 Page 2 of 6




from Leslie containing a picture of Johnny with a subject line indicating that they could use the

picture for Johnny’s yearbook tribute. See Exhibit 9899. Later on the same day, Mr. Wilson

drafted text to put in Johnny’s yearbook tribute, and he emailed the text to Leslie. See Exhibit

9901. That evening, Mr. Wilson received Johnny’s USC athletic profile, which included a

cropped photo of Johnny playing water polo, from Rick Singer. Later in the evening, Mr.

Wilson emailed Leslie the full, uncropped photo used in Johnny’s athletic profile, see Exhibit

712, which Mr. Wilson had previously sent to Mr. Singer in June of 2013, see Exhibit 65.

However, Mr. Wilson did not send Leslie the athletic profile, nor could he or did he extract the

photo from the profile in order to send it.2

         The Court must allow Mr. Wilson to present Exhibits 9899, 9901, and 9902 to the jury to

combat the government’s highly misleading use of Exhibit 712 to suggest that Mr. Wilson

opened Johnny’s athletic profile and was therefore aware of the substantial false information

therein, when in fact the Exhibits offered by Mr. Wilson reveal a far more plausible explanation:

that Mr. Wilson sent Leslie the photograph shown in Exhibit 712 on October 19, 2013, in

connection with their ongoing discussion of photographs to use in their son’s high school

yearbook.

         Importantly, the government was aware of the back-and-forth between Mr. Wilson and

Leslie on October 19, 2013, regarding Johnny’s yearbook tribute. Yet, the government elected

only to show the jury Exhibit 712, depriving the jury of context without which it cannot properly

evaluate Mr. Wilson’s state of mind. While it is for the jury to decide, rather clearly Mr.


2
          If Mr. Wilson had opened the profile, extracted the photo from there, and sent it to Leslie, he would have
sent the cropped version of the photo depicted in the profile, not the full, uncropped version that appears in Exhibit
712. The government did not prove, or even attempt to prove, during its case-in-chief that Mr. Wilson extracted the
photo at issue from the athletic profile and somehow recovered the cropped portions of that photo before sending it
to Leslie. Further, the name of the image file sent on October 19, 2013, SHG_FF1A7905.JPG, indicates that it is an
independent file that predated the profile, as that is the same file name as the identical uncropped photo emailed by
Mr. Wilson to Mr. Singer four months prior.
        Case 1:19-cr-10080-NMG Document 2344 Filed 10/03/21 Page 3 of 6




Wilson’s account of the sequence of email and photo exchanges makes far more sense than the

government’s. Why, if Mr. Wilson had in fact just viewed Johnny’s athletic profile, would he

have gone searching in his photos (on his phone) for the full, uncropped version of the

photograph in Exhibit 712, rather than simply forwarding Leslie the entire profile?

       For the reasons stated in this Motion, Mr. Wilson respectfully asks that the Court

reconsider its ruling sustaining the government’s hearsay objection to Exhibits 9899, 9901, and

9902 and allow Mr. Wilson to supply the jury with context needed to address the government’s

misleading use of Exhibit 712. If the Court does not admit Exhibits 9899, 9901, and 9902, Mr.

Wilson respectfully requests, in the alternative, that the Court preclude the government from

referencing Exhibit 712 during its closing argument. Any use, given the state of the true and

complete record, would be highly misleading and prejudicial.

                                           ARGUMENT

       The Exhibits at issue are not hearsay. Hearsay is a “statement” that (1) the declarant does

not make while testifying at the current trial or proceeding; and (2) a party offers to prove the

truth of the matter asserted in the statement. Fed. R. Evid. 801(c). A “statement” is defined as

“a person’s oral assertion, written assertion, or nonverbal conduct, if that person intended it as an

assertion.” Fed. R. Evid. 801(a). To “assert” something means “to say that [such] thing is so,

e.g., that an event has happened or that a condition existed.” 2 McCormick on Evidence § 246

(8th ed. 2020). The material portions of the emails in Exhibits 9899, 9901, and 9902 and the

corresponding photographs do not “assert” any proposition and therefore cannot be hearsay.

See United States v. Bailey, 270 F.3d 83, 87 (1st Cir. 2001) (holding that an individual’s

actions—“making a phone call” and “driving the agents to the rendezvous”—were “non-

assertive conduct and outside the scope of the hearsay rule.”); 5 Weinstein’s Federal Evidence
         Case 1:19-cr-10080-NMG Document 2344 Filed 10/03/21 Page 4 of 6




§ 801.10 (2021) (“In the context of the rule against hearsay, photographs do not qualify as

assertions.”) (citing United States v. Turner, 934 F.3d 794, 798-99 (8th Cir. 2019)). The

government’s hearsay objection should be overruled on this ground alone.

         Furthermore, to the extent that the emails do contain assertions, which they clearly do

not, any such assertions are admissible because they are “offered not for their truth, but ‘offered

only for context,’” Bailey, 270 F.3d at 87 (quoting United States v. Catano, 65 F.3d 219, 225 (1st

Cir. 1995)); see United States v. Murphy, 193 F.3d 1, 5 n.2 (1st Cir. 1999) ([A]n out-of-court

statement [may] be offered to show that the declarant had certain information, or entertained a

specific belief . . . .”), and because such assertions are relevant to show Mr. Wilson’s state of

mind on October 19, 2013, see Fed. R. Evid. 803(3); Packgen v. Berry Plastics Corp., 847 F.3d

80, 90 (1st Cir. 2017). Accordingly, “the significance of [the statements in the emails] lies solely

in the fact that [they] were [sent]”—that is, the emails are relevant to show that Mr. Wilson was

thinking about photographs for his son’s yearbook when he sent the photograph of Johnny

playing water polo the evening of October 19, 2013—and therefore “no issue is raised as to the

truth of anything asserted, and the statement[s] [are] not hearsay.” United States v. DeCologero,

530 F.3d 36, 58 (1st Cir. 2008). Thus, the emails and photographs in Exhibits 9899, 9901, and

9902 are admissible, notwithstanding the government’s objection, to show what Mr. Wilson was

thinking—his state of mind—when he sent the photograph in Exhibit 712 to his wife, and not to

prove the truth of any matter asserted in the emails.3

         Finally, if the Court declines to reconsider its ruling on the government’s hearsay

objection, Mr. Wilson respectfully requests that the Court alternatively preclude the government

from discussing Exhibit 712 during its closing argument because such Exhibit has been


3
       It is worth noting that no one disputes, nor can they, who is pictured in the photographs at issue. It is the
Defendant’s son, Johnny.
        Case 1:19-cr-10080-NMG Document 2344 Filed 10/03/21 Page 5 of 6




presented to the jury devoid of any and all context that shows Mr. Wilson’s true state of mind on

October 19, 2013. To allow the government to discuss this Exhibit during its closing argument

would only confuse and mislead the jury by presenting them with an incomplete and false picture

of Mr. Wilson’s actions and state of mind. See generally Herring v. New York, 422 U.S. 853,

862 (1975) (“[The trial judge] may ensure that [closing] argument does not stray unduly from the

mark, or otherwise impede the fair and orderly conduct of the trial.”). To permit such argument

would undercut the jury’s ability to make an informed decision.

                                        CONCLUSION

       For these reasons, the Court should reconsider its ruling sustaining the government’s

hearsay objection as to Exhibits 9899, 9901, and 9902. In the alternative, the Court should

prohibit the government from discussing Exhibit 712 during its closing argument.
        Case 1:19-cr-10080-NMG Document 2344 Filed 10/03/21 Page 6 of 6




 Respectfully submitted,

 By counsel for John Wilson

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Dated: October 3, 2021



       CERTIFICATE OF COMPLIANCE WITH LOCAL RULES 7.1 AND 112.1

        I hereby certify that, before filing this motion, defense counsel attempted in good faith to
confer with the government to resolve or narrow the issues. The government does not agree to
the relief requested.

                                              /s/ Michael Kendall
                                              Michael Kendall


                                 CERTIFICATE OF SERVICE

      This document is being filed on the date appearing in the header through the ECF system,
which will provide electronic copies to counsel of record.

                                              /s/ Michael Kendall
                                              Michael Kendall
